March 26, 2024


Court Clerk,
U.S. District Court                                                                    MAR.
Middle District of Tennessee                                                      us          r MW
'719 Church Street, Suite 1300
                                                                                 Avsmme       1 ,
Nashville, TN. 37203


             RE: Jeffery S. Nichols v. William Lee, et at; Case Number 3:22-cv-01004


Dear Court Clerk,


I respectfully enclosed the below to be filed in the above styled case:

1.           Motion to Stay this Case
2.           Motion for a Partial Summary Judgement
             (a)Memorandum of Law in Support of the Motion
             (b) Declaration in Support of the Motion
             (c)Undisputed Material Facts in support of the Motion
             (d)Exhibit 1
             (e)Exhibit 2
             (f)Exhibit 3
             (g)Exhibit 4
             (h)Exhibit 5
             (i) Exhibit 6



Thank you,
                    ,
     *   I      I
Jeffery S. Nichols, Pro se,
985 Murfreesboro Pike, Apt. B24
Nashville, TN 37217
(615) 9470581




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